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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
United States of America                                                        Plaintiff

v.                                  Case No.: 4:17−cr−00293−BSM

Marcus O Millsap                                                              Defendant




                                NOTICE OF HEARING


     PLEASE take notice that a Sentencing has been set in this case for May 24, 2023, at
01:00 PM before Judge Brian S. Miller in Little Rock Courtroom # 2D in the Richard
Sheppard Arnold United States Courthouse located at 600 West Capitol Avenue, Little
Rock, Arkansas.



DATE: May 9, 2023                                AT THE DIRECTION OF THE COURT
                                                        TAMMY H. DOWNS, CLERK


                                                  By: Laura J. Bichlmeier, Deputy Clerk




Electronic copy provided to:

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